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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                      )
 UNITED STATES OF AMERICA,                            )
                                                      )       Criminal No. 1:22-cr-00200-APM
                         v.                           )
                                                      )
 PETER K. NAVARRO,                                    )
                                                      )
                   Defendant.                         )
                                                      )

                            DEFENDANT’S UNOPPOSED MOTION
                           TO EXTEND BRIEFING RESPONSE DATE

         Defendant Peter K. Navarro, by and through counsel, respectfully requests, for good cause

shown, that this Court grant a two-week extension to April 18, 2023 (from April 4, 2023) of

the date for his re s p o n s e t o t h e G o v e r n m e n t ’ s brief on executive privilege and testimonial

immunity, which it filed on March 14, 2023. Counsel for Defendant has consulted with counsel

for the Government, and the Government does not oppose this request.

         Defendant submits that there is good cause for this request for extension. At the Court’s

direction, the Government’s brief addresses its position concerning important constitutional issues,

including the separation of powers between the Executive and Legislative Branches, that will materially

affect future proceedings in this case. The Government has had more than six weeks from the Pretrial

Conference on January 27, 2023, to consult with Justice Department officials about its position,

and prepare its brief. An extension to April 18, 2023, of the date for Defendant’s response would provide

him with five weeks to evaluate the Government’s brief and fully address the issues raised therein.

         WHEREFORE, Defendant Peter K. Navarro respectfully requests that the Court grant this

Motion and extend to April 18, 2023, the date for the filing of his response to the Government’s

brief.




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Dated: March 30, 2023             Respectfully Submitted,

                                  E&W Law, LLC

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                                  Counsel to Defendant Peter K. Navarro




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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

                                              )
 UNITED STATES OF AMERICA,                    )
                                              )      Criminal No. 1:23-cr-00200-APM
                     v.                       )
                                              )
 PETER K. NAVARRO,                            )
                                              )
                Defendant.                    )
                                              )

                                  CERTIFICATE OF SERVICE

       On March 30, 2023, the undersigned hereby certifies that a true and correct copy of the

foregoing was electronically filed under seal via the CM/ECF system and copies were

electronically mailed to Chambers and counsel for the Government.



                                           __/s/ John P. Rowley III ________
                                           John P. Rowley III (D.C. Bar No. No. 392629)
